            Case 4:21-cr-00215-BRW Document 41 Filed 04/27/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

UNITED STATES OF AMERICA                                                     PLAINTIFF

VS.             Case Nos. 4:19-cr-00219-3-BRW and 4:21-CR-00215-01-BRW

CHRISTOPHER DAVID HIGGINS                                                    DEFENDANT


                                             ORDER

        Defendant seeks temporary release from custody for the purpose of attending a medical

appointment. (Case No. 4:19-cr-00219-3-BRW, Doc. No. 115; Case No. 4:21-cr-00215-1-BRW,

Doc. No. 40.) Pursuant to 18 U.S.C. § 3142(i), I find the appointment qualifies as a compelling

reason for temporary release. Accordingly, Defendant’s Motion is GRANTED.

       IT IS, THEREFORE, ORDERED that:

       1.       Defendant be temporarily released from custody on Tuesday, May 3, 2022,

no earlier than 5:30 a.m., for the sole purpose of attending a 8:30 a.m. appointment at the UAMS

Surgery Clinic in Little Rock, Arkansas.

       2.       Defendant’s family is to provide Defendant with transportation to and from the

appointment.

       3.       Defendant is to return to his current place of custody no later than 4:00 p.m. sharp

on Tuesday, May 3, 2022.


       IT IS SO ORDERED this 27th day of April, 2022.


                                                   BILLY ROY WILSON
                                              _______________________________
                                              UNITED STATES DISTRICT JUDGE




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